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                         UNITED STATES DISTRICT COURT                    THOMAS G. BRUTON
                         NORTHERN DISTRICT OF ILLINOIS                 CLERK, U.S. DISTRICT COURT
                               EASTERN DIVISION

UNITED STATES OF AMERICA                                NO   T6CR                      361
                v.                                      Violations: Title 18, United
                                                        States Code, Sections 1956(h)
MICHAEL JENNINGS and                                    and 1957 and Title 21, United
WILLIAM MIKAITIS                                        States Code, Sections 333(a)(2),
                                                        8a1(a) and 846

                                                             fiJMETffiNAIT.
                                    COUNT ONE             MAGISTRATE       N'ffi*ffiASM{
        The SPtrCIAL AUGUST 2015 GRAND JURY charges:

        1.      At times material to this Indictment:

                 a.   Results Weight Loss Center was a business located in Lombard,

Illinois.

                b.    MICHAEL JENNINGS owned and managed Results Weight

Loss Center.
            I


                c.    WILLIAM MIKAITIS was a physician licensed to               practice

medicine in the State of Illinois

                d.    Benzphentermine and Phendimetrazine were Schedule III

Controlled Substances intended for use in the treatment of obesity.

                e.    Phentermine was Schedule     IV Controlled    Substance intended

for use in the treatment of obesity.
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              f.     Title 21 C.F.R.    1306.04(a) provided      that in order for        a

prescription for a controlled substance to be effective     it   had to be issued for     a

legitimate medical purpose by an individual practitioner acting in the usual course

of his professional practice. The responsibility for the proper prescribing and
dispensing of controlled substances was upon the prescribing practitioner.

              g.     Title 21 C.F.R. 1300.01&) defrned an individual practitioner    as

"a physician, dentist, veterinarian, or other individual licensed, registered,           or

otherwise permitted, by the United States or the jurisdiction          in which helshe
practices, to dispense a controlled substance in the course of professional practice."

       2.     Beginning no later than January 2013 and continuing until on or about

January 22, 2015, at Lombard in the Northern District of Illinois, and elsewhere,

                                 MICHAL JENNINGS and
                                 WILLIAM MIKAITIS

defendants herein, did conspire with each other and with others known and

unknown to the Grand Jury, to knowingly and intentionally distribute controlled

substance, namely,      a quantity of a mixture and              substance containing

Benzphentermine and Phendimetrazine, Schedule III Controlled Substances; and             a

quantity of   a mixture and substance      containing Phentermine,      a   Schedule IV

Controlled Substance, outside of the usual course of professional practice and

without a legitimate medical purpose, in violation of Title 21, United States     Code,

Section 841(a)(1).
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      3.       It   was part of the conspiracy that MICHAEL JENNINGS sought the

services   of an individual medical practitioner to provide a Drug       Enforcement

Administration Registration number           for Results Weight Loss Center and
WILLIAM MIKAITIS agreed to obtain that DEA registration number for Results

Weight Loss Center.

      4.       It was further part of the conspiracy that JENNINGS     agreed to make

cash payments to      MIKAITIS in return for the use of MIKAITIS' DEA registration

number to order and dispense controlled substances at Results Weight loss Center.

      5.       It   was further part of the conspiracy that MIKAITIS gave JENNINGS

a credit card number to pay for controlled substances that JENNINGS ordered from

pharmaceutical suppliers.

      6.       It was further part of the conspiracy that JENNINGS ordered
hundreds of thousands        of   dosage units   of Phendimetrazine and Phentermine,
among other drugs,       with MIKAITIS' DEA number from pharmaceutical suppliers
for delivery to Results Weight Loss Center.

      7.       It was further part of the conspiracy that MIKAITIS, a physician with
a full-time medical practice in Lockport, IL, was rarely present at Results Weight

Loss Center.

      8.       It was further part of the conspiracy, that JENNINGS, who was not a
medical practitioner and who had no prior med.ical training or experience, dispensed

controlled substances at Results Weight Loss Center, and elsewhere, outside of
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MIKAITIS' presence and without conducting meaningful physical examinations or

performing any medical tests.

      9.     It   was further part of the conspiracy that JENNINGS made, and

caused to be made, cash deposits to MIKAITIS' bank account to pay MIKAITIS for

the use of his DEA number to order and dispense controlled substances and to

reimburse MIKAITIS for controlled substances ordered on MIKAITIS'credit card.

      10. It      was further part of the conspiracy that JENNINGS identified

himself as "Dr. Mikaitis" to patients at the Results Weight Loss Center.

      11. It was further part of the conspiracy that JENNINGS and Individual A
shipped controlled substances by commercial carrier to individuals who telephoned

Results Weight Loss Center for drugs.

      t2. It was further part of the conspiracy        that JENNINGS and MIKAITIS

misrepresented, concealed and hid, and caused to be misrepresented, concealed and

hidden, the purposes and acts done in furtherance of the conspiracy;

      All in violation of Tit1e 21, United States   Code, Section 846.
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                               COUNTS TWO . EIGHT

        The SPECIAL JANUARY 2015 GRAND JURY further charges:

        1.     Paragraph 1 of Count One of this Indictment is incorporated here.

        2.     On or about the dates set forth below, at Lombard, in the Northern

District of Illinois,

                                    MICHAL JENNINGS and
                                    WILLIAM MIKAITIS,

defendants herein,      did knowingly and intentionally distribute a         controlled

substance, namely, a quantity of a mixture and substance containing a detectable

amount of the controlled substance listed below, outside of the usual course of

professional practice and without a legitimate medical purpose:


          Count         Date                   Controlled      Substance
         2              7123120t3              Schedule IV     Phentermine
         3              911812013 to JV       .Schedule IV     Phentermine
         4              91L812013 to EF        Schedule IV     Phentermine
         5              Tlt6l2014              Schedule IV     Phentermine
         6              4178120L4              Schedule IV     Phentermine
          I             1117120t4              Schedule IV     Phentermine
         8              u9l20t5               Schedule   III   Benzphentermine

       In violation of Title 21, United States   Code, Section 8a1(a)(1) and     Title   18,

United States Code, Section 2.
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                                COUNTS NINE - FIFTEEN

          The SPECIAL JANUARY 2015 GRAND JURY further charges:

       1.         Paragraph 1 of Count One of this Indictment is incorporated here.

      2.          At times material to this Indictment:

                  a.    The prescription drugs Benzphentermine and Phentermine,
Schedule    III   and Schedule IV Controlled Substances respectively, were prescription

drugs held for sale following their shipment in interstate commerce.

                  b.    The United States Food and Drug Administration was the
federal agency charged with the responsibility            of protecting the health and
safety of the American public by enforcing the Federal Food, Drug, and Cosmetic

Act (the "FDCA.") One purpose of the FDCA was to ensure that drugs sold for             use

by humans were safe, effective, and bore labeling containing only true and accurate

information. The FDAs responsibilities und.er the FDCA includ.ed reguiating the

manufacture, labeling, and distribution of        all drugs, including prescription   drugs,

and drug components shipped or received in interstate commerce.

                  c.    Under the FDCA, the term "drug" included articles that:          (1)

were intended for use in the diagnosis, cure, mitigation, treatment, or prevention of

disease   in man; or    (2) were intended to affect the structure or any function of the

body of man.

                  d.    Pursuant   to the FDCA, some drugs intended for use by
humans could" be dispensed only upon the valid prescription of             a practitioner
licensed by law to administer such drugs. Such drugs were known as "prescription


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drugs." Prescription drugs were those drugs which, because of      their toxicity   and

other potential harmful effects, were not safe          for use except under the
supervision of a practitioner licensed by law to administer such drugs. A drug

was also a prescription drug   if the FDA required it to be administered under the
supervision of a practitioner licensed by law to administer such drug as a condition

of the FDA's approval of the drug.

             e.     Under the FDCA, dispensing a prescription drug without            a

valid prescription by a licensed practitioner was deemed to be an act that resulted

in the drug being misbranded while held for sale. The FDCA prohibited doing any

act that caused a drug to be misbranded while held for sale after shipment in

interstate commerce

      3. On or about the dates and approximate            times set forth below, at

Lombard, in the Northern District of Illinois, Eastern Division,

                                 MICIIAL JENNINGS and
                                 WILLIAM MIKAITIS,

defendants herein, did   with intent to defraud or mislead, dispense and cause to be
dispensed quantities     of the following prescription drugs, without a         valid

prescription, an act that resulted in the drugs being misbranded while held for sale

after shipment in interstate commerce:




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            Count           Date                   Misbranded
                                                   Drug
             9              712312013             Phentermine
            10              9ll8l20l3 to JV       Phentermine
            11              911812013   to EF     Phentermine
            t2              tl1612014             Phentermine
            13              4lt8l20t4             Phentermine
            14              tll7l20t4             Phentermine
            15              u912015               Benzphentermine

      In violation of Title 21, United States   Code, Sections BbB&)(l), 831ft), and

333(aX2) and Title 18, United States Code, Section 2.




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       The SPECIAL AUGUST 2015 GRAND JURY further charges:

       1.      Count One of this Indictment is incorporated here.

       2.      Beginning no later than January 2013 and continuing until on or about

January 22, 2015, at Lombard in the Northern District of Illinois, and elsewhere,

                                  MICHAL JENNINGS and
                                  WILLIAM MIKAITIS,

defendants herein, did conspire with each other and         with others known and
unknown to the grand jury, to knowingly conduct and attempt to conduct a financial

transaction involving proceeds of a specified unlawful activity, namely, the felonious

buying and selling and otherwise dealing in a controlled substance, knowing that

the property involved in the transaction represented the proceeds of some form of

unlawful activity, with the intent to promote the carrying on of the specified

unlawful activity,      in violation of Title 18, United States Code, Section
1e56(a)(1)(A)(i).

       3      It was part of the conspiracy that MIKAITIS           obtained   a   DEA

registration number for JENNINGS'use at Results Weight Loss Center.

       4.     It was further part of the conspiracy that JENNINGS ordered
controlled substances from pharmaceutical companies          with MIKAITIS' DEA
registration number and paid for the drugs with MIKAITIS'credit card.

       5.     It    was further part of the conspiracy that JENNINGS dispensed

controlled substances obtained with MIKAITIS'DEA registration number outside of

MIKAITIS'presence at Results Weight Loss Center.
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      6.     It was further part of the conspiracy that MIKAITIS               directed

JENNINGS to reimburse him for the cost of the controlled substances by making

cash deposits to MIKAITIS' joint account with Individual B at the Chase Bank.

      7.      It   was further part of the conspiracy that JENNINGS used proceeds

from the sale of controlled substances at Results Weight Loss Center to reimburse

MIKAITIS for the cost of the controlled substances by making cash deposits to

MIKAITIS' joint account with Individual B at the Chase Bank.

      8.     It    was further part of the conspiracy that, between approximately

February 20L3 and Janu ary 22, 20L5, JENNINGS deposited and caused to               be

deposited approximately $75,000        in cash to MIKAITIS' bank account to pay for
controlled substances.

      All in violation of Title   18, United States Code, Sections 1956(h) and2.




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                                  COUNT SEVENTEEN

       The SPECIAL AUGUST 2015 GRAND JURY further charges:

       On or about August 18, 2014, in the Northern District of lllinois, Eastern

Division,

                                   WILLIAM MIKAITIS,

defendant herein, did knowingly engage and attempt to engage              in a monetary
transaction    in or affecting interstate   commerce and involving criminally derived

property of a value greater than $10,000, in that defendant caused cashier's check #

94467L2219      to be drawn at the Chase Bank and payable to a suburban               car

dealership    in the amount of $12,000, such property having been derived from a
specifi.ed   unlawful activity, namely, the felonious receiving, buying, selling or

otherwise dealing    in a controlled substance, in violation of Title   21, United States

Code, Sections, 841(a) and 846;

      In violation of Title 18, United States Code, Section 1957(a)




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                            FORFEITURE ALLEGATION

      The SPECIAL AUGUST 2015 GRAND JURY alleges:

       1.    Upon conviction of an offense in violation of Title 21, United States

Code, Section 846,     as set forth in this Indictment,       defendants MICHAEL

JENNINGS and WILLIAM MIKAITIS shall forfeit to the United States of America

any property which constitutes and is derived from proceeds obtained, directly and

indirectly, as a result of the offense; and any property used, and intended to         be

used, in any manner and part, to commit and facilitate commission of the offense, as

provided in Title 21, United States Code, Sections 853(a).

      2.     The property to be forfeited includes, but is not limited to a personal

money judgment in the amount of approximately $790,000.

      3.     If any of the property    described above, as    a result of any act or
omission by a defendant: cannot be located upon the exercise of due diligence; has

been transferred or sold to, or deposited with, a third party; has been placed beyond

the jurisdiction of the Court; has been substantially diminished in value; or has

been commingled with other property which cannot be divided without difficulty,

the United States of America shall be entitled to forfeiture of substitute property,   as

provided in Title 21, United States Code, Section 853(p).

                                              A TRUE BILL:


                                               FOREPERSON
